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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ALICIA STREET, et al.,                           )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )   Cause No. 4:19-CV-02590-CDP
                                                 )
LT. COL. LAWRENCE O’TOOLE, et al.,               )
                                                 )
       Defendants.                               )

 CONSENT MOTION FOR EXTENSION TO FILE MOTION FOR FINAL APPROVAL

       With consent of Defendants, Plaintiffs move the Court to extend Plaintiffs’ deadline to file

a. motion for Final Approval of Class Certification. In support of this motion, Plaintiffs state as

follows:

       1.      On February 6, 2023, this Court granted Plaintiffs’ Motion for Preliminary

Approval of the Class Settlement. ECF No. 106.

       2.      That Order set the deadline for Plaintiffs to final their Motion for Final Approval

of the settlement by May 23, 2023. Id. at 11.

       3.      Since that time, counsel for both parties have worked with the Claims Administrator

to serve notice on all class members.

       4.      Class Counsel has nearly completed its preparation of the Final Approval filings;

however, Class Counsel requires two days to resolve several minor issues that arose at the last

moment before filing.

       5.      Plaintiffs, by consent of Defendants, request an extension of two days, to May 25,

2023, by which to file their Motion for Final Approval of the Class Settlement.




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       WHEREFORE, Plaintiffs respectfully request that the Court extend the deadlines for two

days, up to and including May 25, 2023, to file their Motion for Final Approval of the Class

Settlement.

Date: May 23, 2023                                Respectfully submitted,


                                                  KHAZAELI WYRSCH LLC

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